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                         Exhibit A

                    Organizational Chart
                                                                                         Case 22-10778-JKS                                                                      Doc 16-1                                      Filed 08/23/22                                                  Page 2 of 2

                                                                                                                                                                                                                                                                   Carestream Health Holdings, Inc.

Global Entity Organizational Chart                                                                                                                                                                                                                      (US-DE)


  KEY
                     1L Term Loan/Revolver Borrower
                     1L Term Loan/Revolver Guarantor
                                                                                                                                                                                                                                                                        Carestream Health, Inc.
                     2L Term Loan Borrower
                     2L Term Loan Guarantor                                                                                                                                                                                                             (US-DE)


                     Chapter 11 Filing Entities

                                                                                                                                                                                                     Carestream Health International                                                                                                                                                                                                          Carestream Health
  *Ownership is 100% unless otherwise indicated                              Lumisys Holding Co.                                                                                                                                                            Carestream Health World Holdings, LLC                      Carestream Health Puerto Rico, LLC                        Carestream Health Canada Holdings, Inc.
                                                                                                                                                                                                       Management Company, Inc.                                                                                                                                                                                                            Deutschland Holding GmbH
                                                          (US-DE)                                                                                                                          (US-DE)                                                      (US-DE)                                                  (Puerto Rico)                                                (US-DE)                                          (Germany)




                                                                                                                                                                                98.7%
                                                                                                                                                                                                                                                                          Carestream Health                                                                                                                                                Carestream Health
                                                                                                                           Carestream Health Acquisition, LLC                                                                                                         International Holdings, Inc.                                                                                 Carestream Health Canada Company
                                                                                                                                                                                                                                                                                                                                                                                                                                    Deutschland Administration GmbH
                                                                                                                 (US-DE)                                                                                                                                (US-DE)                                                                                                               (Canada)                                         (Germany)

                                                                                                                                                                                        1.3%




                                                       99.9+%                                                                                                                                            Carestream Health Japan Co. Ltd.                                                                                   Carestream Health Spain, S.A.
                                                                                                                                 >0.1%                                                                                                                        Carestream Holdings (Bermuda) Ltd.
                                                                        Carestream Health India Private Limited
                                                                                                                                                                                               (Japan)                                                                                                            (Spain)
                                                                                                                                                                                                                                                        (Bermuda)
                                                                    (India)



                                                       95.27%                                                                    4.73%                                                                                                                                 Coöperatieve Carestream
                                                                                 Medical Flow Solutions S.A.                                                      Health Products and Services B.V.                                                                      Global Holdings U.A.

                                                                    (Argentina)                                                                                                                                                                         (Netherlands)
                                                                                                                                                       (Netherlands)


                                                                                                                                                                                                                                                                                                                                         Carestream Health Hellas M.EPE
                                                       99.99%                                                                    0.01%                                                                             99.9+%
                                                                               Soluciones Medicas Exportacion,                                 >0.1%                Carestream Health (Thailand)
                                                                                                                                                                                                                                                                                                                                 (Greece)
                                                                                        S de RL de CV                                                                     Company Limited
                                                                                                                                                                                                                                                                  Carestream Health Netherlands BV
                                                                    (Mexico)                                                                           (Thailand)

                                                                                                                                                                                                                                                        (Netherlands)

                                                       99.99%                                                                    0.01%                                                                                                                                                                                                      Carestream Health UK, Limited
                                                                                                                                                        Carestream do Brasil Comércio e Serviços de                 99.9+%                      >0.1%
                                                                      Soluciones Medicas Comercial, S.A. de C.V.                               >0.1%
                                                                                                                                                                 Produtos Médicos Ltda.                                                                                                                                          (UK)
                                                                    (Mexico)                                                                           (Brazil)                                                                                                                                         99.9+%
                                                                                                                                                                                                                                                                   Carestream Health Romania S.R.L.                                                      70%                               30%


                                                                                                                                                                                                                                                        (Romania)
                                                       99.99%                                                                    0.01%
                                                                                                                                                5%                                                                   95%
                                                                      Soluciones Medicas Manufactura SA de CV                                                     Carestream Health Colombia Ltda.                                                                                                                                          Carestream Health Saudi Arabia,
                                                                                                                                                                                                                                                                                                                                              a Limited Liability Company
                                                                    (Mexico)                                                                           (Colombia)
                                                                                                                                                                                                                                                                                                                                  (Saudi Arabia)
                                                                                                                                                                                                                                                                    Carestream Health Finland OY

                                                                                                                                 5%                                                                                                                     (Finland)
                                                        95%                                                                                    >0.1%                                                               99.9+%                                                                                                                                                                               Carestream Health
                                                                               Carestream Health Venezuela, CA                                                     Carestream Health Chile Ltda.                                                                                                                                        Carestream Health (Near East) Limited                          (Near East) Limited -
                                                                                                                                                                                                                                                                                                                                                                                                       Dubai Branch (UAE)
                                                                    (Venezuela)                                                                        (Chile)                                                                                                                                                                     (Jersey)
                                                                                                                                                                                                                                                                     Carestream Health Italia S.r.l.

                                                        99.9%                                                                    0.1%                                                                                                                   (Italy)
                                                                                 Carestream Health Peru, SAC
                                                                                                                                                           Carestream Health Australia Pty Limited
                                                                    (Peru)
                                                                                                                                                       (Australia)
                                                                                                                                                                                                                                                                        Carestream Health Ltd.

                                                                                                                                >0.1%                                                                                                                   (Israel)
                                                       99.9+%           Carestream Health Tibbi Cihazlar Ticaret
                                                                                    Limited Sirketi                                                         Carestream Health Hong Kong Limited
                                                                    (Turkey)
                                                                                                                                                       (Hong Kong)
                                                                                                                                                                                                                                                                  Carestream Health Poland Sp. Z.o.o.

                                                                                                                                                                                                                                                        (Poland)
                                                        99%                                                                       1%
                                                                                   LLC Carestream Health
                                                                                                                                                             Carestream Health Malaysia Sdn. Bhd.
                                                                    (Russia)
                                                                                                                                                       (Malaysia)
                                                                                                                                                                                                                                                                    Carestream Health Sweden AB

                                                                                                                                                                                                                                                        (Sweden)


                                                                                                                                                                 Carestream Health Singapore Pte. Ltd.

                                                                                                                                                        (Singapore)                                                                                        Carestream Health Portugal - Comércio e
                                                                                                                                                                                                                                                               Prestação de Serviços Médicos,
                                                                                                                                                                                                                                                                       Unipessoal Lda

                                                                                                                                                             Carestream Health Hong Kong Holding                                                    (Portugal)
                                                                                                                                                                           Limited
                                                                                                                                                        (Hong Kong)

                                                                                                                                                                                                                                                                        Carestream Health SA

                                                                                                                                                                                                                                                        (Switzerland)
                                                                                                                 Rayco (Shanghai) Medical Products Company                                           Rayco Asia Pacific Investment Management
                                                                                                                                    Ltd.                                                                    (Shanghai) Company Limited
                                                                                                                 (China)                                                                         (China)
                                                                                                                                                                                                                                                                    Carestream Health France SAS

                                                                                                                                                                                                                                                    (France)
                                                                                                                                                                  Rayco (Xiamen) Medical Products
                                                                                                                                                                            Company Ltd.
                                                                                                                                                        (China)
